 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 1 of 15 PAGEID #: 782

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

 

TAGNETICS, INC.
Appellant/Alleged Debtor
v.
KENNETH KAYSER, ET AL.

Appellees/Alleged Judgment Creditors,

 

Appeal from the United States Bankruptcy Court for the Southern District of Ohio
(The Honorable Guy R. Humphrey)

 

REPLY BRIEF OF APPELLANT

 

Respectfully submitted,

Stephen B. Stern, Admitted Pro Hac Vice
KAGAN STERN MARINELLO & BEARD, LLC
238 West Street

Annapolis, Maryland 21401

(410) 216-7900 — Telephone

(410) 705-0836 — Facsimile

stern@kaganstern.com (email)

Counsel for Appellant/Alleged Debtor
Tagnetics, Inc.
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 2 of 15 PAGEID #: 783

 

TABLE OF CONTENTS
TABLE OF AUTHORITIES oo. ccccccccc ccc ce cece ence cece nee ee ee ene teens east e ees esses neereneneeentee ii
INTRODUCTION. 200. cece cece een eee eee ren enn n EES EEE EES E EERE DESEO EES EEE A RE EEE E EE EERE EE ERE BEES ]
REPLY ARGUMENT... 0.0. c cece renee eee eens eee ee nee ee eens seen nee ee re eaea en neeeneaeeeneeeg ets 1

A. THE REMAINING PETITIONING CREDITORS MISCHARACTERIZE
THE MAIN ISSUE ON APPEAL, WHICH IS WHETHER THE TERM
“FULL MUTUAL RELEASES (NO CARVE OUTS)’ INCLUDES A
RELEASE OF PARENT COMPANIES, SUBSIDIARIES, AFFILIATES,
OFFICERS, DIRECTORS, AND OTHER RELATED PARTIES...............:46 1

B. THE REMAINING PETITIONING CREDITORS DO NOT OFFER
ANY EVIDENCE OR VIABLE ARGUMENTS THAT THERE WAS
A MEETING OF THE MINDS IN THE EVENT THE COURT
DETERMINES THE PHRASE “FULL MUTUAL RELEASES (NO
CARVE OUTS)” DOES NOT INCLUDE RELATED

PARTIES. ececce nse ce eee e eee eee e nee ne eter eee ea ee ene ee eaten ens SA ere cer ea HEE SE EES Ene Ea a 6
Cc. APPELLEES MISCHARACTERIZE THE RECORD... ..cccciceceeeceeeeeee eee ee es 7

D. APPELLEES CONSISTENTLY FAIL TO CITE AND/OR ACCURATELY
REFLECT THE RECORD... ccc ccc ence eter n ene eran ene ne Ener sapen a ea ea 9
ONC 0) 101s) C0 enn eee 10
CERTIFICATE OF COMPLIANCE WITH RULE 8015 (a)(7)..... cece cscs cent eteneeeeeeee eee eenens 11

CERTIFICATE OF SERVICE oo... ccccccccc cece eee c eee eee er nt eee ere EERE EERE EERE RE EE EEE EEA 12
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 3 of 15 PAGEID #: 784

TABLE OF AUTHORITIES

CASES

Federal Cases

Basebail at Trotwood, LLC v. Dayton Prof'l Baseball Club,
2003 U.S. Dist. LEXIS 27460 (S.D. Ohio 2003) oo... ccc cence eee n eee eeeneeteeneneeeenanes 10

Foster v. Barilow,
6 F.3d 405 (6th Cir, 1993) oo eeec eee eee nent ee ea eae e ee beeen tes eenee teen ea eenieneees 2

Int'l Bhd. of Elec. Workers v. Nat'l Labor Relations Bd,
788 F.2d 1412 (9th Cir, 1986) occ ccc cence cece eee eee ee ener eee Oe EOE S SEN EEE Eee eaE 6

NCUA Bd. v. Zovko,
728 Fed. Appx. 567 (6th Cir, 2018) 0.0... cece eee e cere eens e eee e nee e bene ee ee ease eeeee ea eees 10

Taunt v. Lyons (In re Lyons),
1999 U.S. Dist. LEXES 20240 (B.D. Mich. 1999) 200. eee eres nesses enter eea tees 10

Trs. of the Painters, Union Deposit Fund v. G&T Commer. Coatings, Inc.,
2014 U.S. Dist. LEXIS 129945 (E.D. Mich, 2014)... 0. eee cece eee eee n ere eran eee 6

State Cases

Nilavar v. Osborn,

127 Ohio App. 3d 1 (2d Dist. 1998) oo... cece ece cece eens ee eeeereeee et ee eens teen essen terse 4
COURT RULES
Fed. R. App. P. 28(a)(S){A) ooo. e cnet eee eee ee ene ene DEERE EEE OEE E TERETE EEE EERE Ee EE EEE EERE 10
Rule 8015(a\(7)(B\{(ti) of the Federal Rules of Bankruptcy Procedure .............:..cceceeeee eee 12

ii
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 4 of 15 PAGEID #: 785

INTRODUCTION
Appellees Kenneth K. Kayser (“Kayser”), Ronald E. Earley (“Earley”), and Jonathan
Hager (“Hager”) (collectively, the “Remaining Petitioning Creditors”) filed their brief on March
12, 2020 in support of the Bankruptcy Court’s ruling. The Remaining Petitioning Creditors’ brief
misses the main Iegal issue on appeal, i-e., whether the term “full mutual releases (no carve outs)”
includes a release of individuals/entities related to the parties, such as parent companies,
subsidiaries, affiliates, officers, directors, heirs, and personal representatives. Instead, the
Remaining Petitioning Creditors focus on whether Compass Marketing, Inc. (“Compass
Marketing”), is an affiliate of Appellant Tagnetics, Inc. (“Tagnetics”), and subject to the release.
To the extent that the Remaining Petitioning Creditors included arguments related to the issue at
hand, they fail to rebut Tagnetics’ arguments and they fail to support the portions of the Bankruptcy
Court’s decision that are in error. Furthermore, the Remaining Petitioning Creditors repeatedly
(a) mischaracterize the record and/or evidence submitted during the pendency of this matter, and/or
(b) fail to cite to the record or evidence in support of the conclusions they make. Each of the
Remaining Petitioning Creditors’ arguments is unavailing and should be rejected by this Court.
REPLY ARGUMENT
A. THE REMAINING PETITIONING CREDITORS MISCHARACTERIZE
THE MAIN ISSUE ON APPEAL, WHICH IS WHETHER THE TERM
“FULL MUTUAL RELEASES (NO CARVE OUTS)” INCLUDES A
RELEASE OF PARENT COMPANIES, SUBSIDIARIES, AFFILIATES,
OFFICERS, DIRECTORS, AND OTHER RELATED PARTIES
At the outset, the Remaining Petitioning Creditors included a section titled, “Statement
Regarding Proposed Supplemental Settlement,” which purports to outline a series of events and/or

communications between the Remaining Petitioning Creditors and Tagnetics following the

October 18, 2019 hearing, including purported settlement discussions following the October 18,
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 5 of 15 PAGEID #: 786

2019 hearing. See Appellees’ Brief, pg. v. This section is not relevant to the issues on appeal and
is not responsive to the issues raised by Tagnetics in its opening Brief of Appellant (“Brief”).
Furthermore, even if the events after the October 18, 2019 hearing occurred as described by the
Remaining Petitioning Credits,! they may not be considered by this Court because they are not
part of the record and could not have been considered by the Bankruptcy Court when it issued its
decision. Foster v. Barilow, 6 F.3d 405, 407 (6th Cir. 1993) (holding the court may not consider
evidence proffered on appeal when the information was not first submitted to the district court and
made part of the record), Thus, the entirety of the section titled “Statement Regarding Proposed
Supplemental Settlement” beginning on page v. of the Remaining Petitioning Creditors’ brief
should be stricken or, at the very least, not considered by this Court.

The Remaining Petitioning Creditors focus a substantial portion of their argument on
whether the scope of the release in the parties’ settlement agreement specifically included
reference to Compass Marketing. The Remaining Petitioning Creditors in this regard argue that
they “were questioning the inclusion and more specifically the callout of Compass Marketing.”
See Appellees’ Brief, pg. 6. The issue on appeal regarding the scope of the disputed release
language, however, is whether the Remaining Petitioning Creditors agreed to release not only
Tagnetics, but also its parent companies, subsidiaries, affiliates, officers, directors, and other
parties related to Tagnetics (and, correspondingly, whether Tagnetics released parties related to
the Remaining Petitioning Creditors, such as their heirs, representatives, and assigns).

Tagnetics cited numerous cases that have reached the same conclusion that Tagnetics

advances here (see Brief, pgs. 12-13), which is that a full release necessarily applies to related

 

' Tagnetics is not even sure it understands each assertion made by the Remaining Petitioning Creditors regarding the
alleged post-hearing events.
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 6 of 15 PAGEID #: 787

parties, such as parent companies, subsidiaries, and affiliates, among others. The Remaining
Petitioning Creditors offer no rebuttal to this case authority. In addition to the abundance of case
authority Tagnetics cited, Tagentics proffered evidence that it is “common practice” to include in
any full release of a business entity a release of the entity’s parent companies, subsidiaries,
affiliates, and other related individuals, such as officers and directors. See Brief, pgs. 12-13.
Whether Compass Marketing is or is not an affiliate of Tagnetics does not resolve the ultimate
issue before the Court, which is whether the release language included affiliates of Tagnetics in
the first place. If the Remaining Petitioning Creditors want to take up the issue of whether
Compass Marketing is an affiliate of Tagnetics (and, thus, subject to a release that includes parent
companies subsidiaries, affiliates, and other related parties — the release that this Court should find
was agreed to and part of the settlement agreement), they are free to do so another time, but that is
not an issue on appeal or before this Court.

The Remaining Petitioning Creditors’ bizarre assertion that the phrase “full mutual releases
(no carve outs)” was used “to demonstrate Tagnetics[’] agreement to grant a release to the
petitioning creditors (Appellees) with no exceptions” defies logic. First, and as Tagnetics’ counsel
testified at the October 18, 2019 hearing (and which testimony was unrebutted), the Remaining
Petitioning Creditors were the ones who sought a full release from Tagnetics. See Exhibit 5? at
30:23-31:16; see also Brief, pgs. 16-17. After discussing the Remaining Petitioning Creditors’
demand with Tagnetics that each party be completely released, Tagnetics agreed, so long as the
releases were mutual. fd Further, the Remaining Petitioning Creditors’ argument ignores the

word “mutual” in the phrase “full mutual releases (no carve outs)” by claiming that the agreed

 

2 For consistency and to reduce the amount of papers filed with the Court, the Exhibits identified in this Reply are
numbered the same as in the Brief,
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 7 of 15 PAGEID #: 788

upon release language in the July 26, 2019 email was, in a sense, a one-way release from Tagnetics
to the Remaining Petitioning Creditors. As the factual progression indicates, Tagnetics was
initially hesitant to grant a release to the Remaining Petitioning Creditors, but ultimately included
the release, so long as Tagnetics received the same “mutual” release in return from the Remaining
Petitioning Creditors. Indeed, the mutuality of the release supports Tagnetics’ position. In this
regard, it is incongruent and simply unreasonable on its face for the Remaining Petitioning
Creditors to think (and argue) the phrase “full mutual releases (no carve outs”) means Tagnetics
would release the Remaining Petitioning Creditors and each of their related parties, as reflected in
the draft agreement and which the Remaining Petitioning Creditors readily found acceptable,’ but
at the same time “full mutual releases (no carve outs)” would apply only to Tagnetics and not its
parent companies, subsidiaries, affiliates, officers, directors, and other related parties.* Moreover,
by continuing to argue (without citation to any supporting evidence) that each Remaining
Petitioning Creditor secretly and subjectively believed the release language to be less than “full
and mutual,” the Remaining Petitioning Creditors offer “evidence” that may not be considered by
the Court. See Nilavar v. Osborn, 127 Ohio App. 3d 1, 12 (2d Dist. 1998) (“Secretly held,
unexpressed intent is not relevant to whether a contract is formed.”).

Ironically, while the Remaining Petitioning Creditors recognize that the Bankruptcy Court

applied an objective (rather than subjective) analysis as to what the parties meant when entering

 

3 See Exhibit 2 at Section 7.

4 The Remaining Petitioning Creditors were advised on numerous occasions to seek legal counsel when negotiating
the terms of the settlement agreement. See Brief, pg. 14, n.8. Further, the Remaining Petitioning Creditors state in
their brief that two attorneys allegedly reviewed the release language and found the language “concerning.” While the
Remaining Petitioning Creditors cite no evidence and/or any document in the record to support this new contention,
the Remaining Petitioning Creditors’ alleged concerns regarding the scope of the phrase “full mutual releases (no
carve outs)” was not raised until August 16, 2019, which was twenty-eight (28) days following the agreement that
was reached on July 26, 2019 (which was reflected in multiple emails that day) and following numerous instances
where Tagnetics’ counsel urged the Remaining Petitioning Creditors to seek their own counsel to review the settlement
agreement.
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 8 of 15 PAGEID #: 789

into the settlement agreement, the Remaining Petitioning Creditors continue to present their
subjective interpretation of the meaning of the phrase “full mutual releases (no carve outs),” while
ignoring the ample objective evidence presented by Tagnetics. For example, the Remaining
Petitioning Creditors conceded that the scope of the release the parties agreed to applied to related
parties, such as affiliates. See Brief, pg. 14 (quoting Exhibit 3 to the Brief, which states in relevant
part that “[i]f Compass [Marketing] is not an operating affiliate [sic] then they are not a party to
this settlement”), This acknowledgement by the Remaining Petitioning Credits shows their
subjective and objective understanding was the same as Tagnetics’ — which is that the phrase “full
mutual releases (no carve outs)” obviously included related parties, including specifically affiliates
of Tagnetics.

In addition to this notable and significant acknowledgement, additional objective evidence
can be found in the prior agreement Tagnetics entered into with one of the Remaining Petitioning
Creditors. To this end, the same exact release language found in the draft Settlement Agreement
also was included in the Settlement Agreement Kayser signed on behalf of Kayser Ventures, Ltd.,
earlier in this same litigation. See Brief, pg. 14 (comparing the release language in the Kayser
Ventures, Ltd. Settlement Agreement (Ex. 6 at Section 5) with the release language in the
Settlement Agreement (Ex. 2 at Sections 4-6)). As argued in the Brief, the Settlement Agreement
with Kayser constitutes at the very least objective evidence that Kayser was aware of or otherwise
had knowledge that Tagnetics expected the release in this matter would apply not only to
Tagnetics, but also its parent companies, subsidiaries, corporate and operating affiliates, and other

related individuals/entities. See Brief, pg. 15. The Bankruptcy Court, however, determined that

 

5 At worst, the quoted language from Exhibit 3 shows that the Remaining Petitioning Creditors had questions as to
whether Compass Marketing was an affiliate of Tagnetics, not whether affiliates were included in the release, but, as
noted above, the issue of whether Compass Marketing is an affiliate of Tagnetics is not before this Court on appeal.
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 9 of 15 PAGEID #: 790

this prior agreement in the same litigation was of no probative value.® The Bankruptcy Court’s
decision in this regard was in error, however. See Trs. of the Painters, Union Deposit Fund v.
G&T Commer. Coatings, Inc., 2014 U.S, Dist. LEXIS 129945, **25-26 (E.D. Mich. 2014)
(explaining that when determining the intent of the language of the contract, a court may look to
“other indicia of intent, such as ‘the bargaining history, the context in which the contract was
negotiated, the interpretation of the contract by the parties, and the conduct of the parties bearing
upon its meaning’”) (quoting Int’! Bhd. of Elec. Workers v. Nat’! Labor Relations Bd., 788 F.2d
1412, 1414 (9th Cir. 1986)). With this backdrop, it is clear that despite being provided objective
evidence to support the context in which the contract was negotiated, the Bankruptcy Court failed
to give the evidence any weight in rendering the opinion.

For these reasons and those reflected in the Brief, the Remaining Petitioning Creditors’
arguments that the phrase “full mutual releases (no carve outs)” are without merit and the Court
should hold that the phrase “full mutual releases (no carve outs)” included a release of the related
parties, such as parent companies, subsidiaries, affiliates, officers, directors, heirs, personal
representatives, and other related parties.

B. THE REMAINING PETITIONING CREDITORS DO NOT OFFER ANY

EVIDNECE OR VIABLE ARGUMENT THAT THERE WAS A MEEETING
OF THE MINDS IN THE EVENT THE COURT DETERMINES THE
PHRASE “FULL MUTUAL RELEASES (NO CARVE OUTS)” DOES NOT
INCLUDE RELATED PARTIES

Although the Remaining Petitioning Creditors take the position that, in the event the Court

rules the phrase “full mutual releases (no carve outs)” does not include a release of related parties

 

6 See Exhibit 5 at 46:6-16 (“And let me say this much, I will probably ~ if they move admission of Exhibit H [Kayser
Ventures, Ltd. Settlement Agreement], I will probably admit it, but I’m, again, being forthright and honest, from what
P’ve seen of everything, I tend to agree, Exhibit H, I think, is irrelevant. I’m being forthright and honest with you. You
know, I think really for the most party, Exhibit H is irrelevant, because what you — what terms you entered into with
other parties on another settlement, even though a same case, I’m struggling to understand the relevance to settlement
with these three other parties.”).
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 10 of 15 PAGEID #: 791

(such as parent companies, subsidiaries, and affiliates, among others), there was a meeting of the
minds between the parties and the settlement agreement should be enforced as is, they fail to cite
any evidence and fail to make any legal arguments in support of this position. Indeed, they include
a “Section II” on page 9 of their brief contending there was a meeting of the minds, but this one
paragraph section actually focuses on the Remaining Petitioning Creditors’ arguments about the
terms of the agreement, with only a single concluding sentence that contends there was a meeting
of the minds. See Appellees’ Brief, pg. 9. Simply put, there is nothing in the Remaining
Petitioning Creditors’ brief that rebuts the arguments proffered by Tagnetics that there was no
meeting of the minds and, thus, no settlement to enforce in the even the Court finds the phrase
“fill mutual releases (no carve outs)” does not include a release of related parties.

Cc. APPELLEES MISCHARACTERIZE THE RECORD

The Remaining Petitioning Creditors consistently mischaracterize the record and/or
evidence introduced throughout this litigation, A number of examples are included below.

The Remaining Petitioning Creditors assert that Tagnetics argued at the October 18, 2019
hearing that the July 26, 2019 email contained all the settlement terms and that “no other terms,
whether or not discussed prior to the July 26, 2019 email, could be included in the agreement
settlement.” See Appellees’ Brief, pg. 3. The Remaining Petitioning Creditors, however, did not
cite any portion of the record where Tagnetics’ counsel allegedly made this statement (or a similar
statement), The reason for the lack of citation is that Tagnetics’ counsel never made this statement
and there was never anything communicated to even allow such an inference. In fact, counsel for
Tagnetics testified that the July 26, 2019 email contained the “key terms” of the Settlement

Agreement (see Ex. 5 at 14:2-10; 32:14-17) and that the agreement will be more thoroughly
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 11 of 15 PAGEID #: 792

documented in a written settlement agreement to be prepared in the coming days (see Ex. 5 at
33:5-19).

Similarly, the Remaining Petitioning Creditors state (again, without citation to the
transcript) that “Mr. Stern and Mr. Kracht argued that any terms sought by the petitioning creditors
(Appellees) that were not listed explicitly in the email agreement were beyond the scope of the
agreement.” See Appellees’ Brief, pg. 5. At the October 18, 2019 hearing, counsel for Tagnetics
testified that, after sending the draft Settlement Agreement, the parties exchanged emails and
“ImJany of the terms included below [by the Remaining Petitioning Creditors] clearly fall outside
the scope of what we agreed to, the email exchange on July 26, 2019, at 3:56 p.m. and again at
3:59 p.m.” See Ex. 5 at 48:18-21. The Remaining Petitioning Creditors mischaracterize the
context of this statement by Tagnetics’ counsel and the previous settlement discussion history
between the Parties. As previously stated, and it cannot be disputed, the July 26, 2019 email
established the “key terms” of the Settlement Agreement. Following the parties’ agreement via
emai! on the “key terms,” counsel for Tagnetics drafted a settlement agreement, which remained
entirely consistent with the “key terms” from the July 26, 2019 email. The Remaining Petitioning
Creditors, however, sought to modify the Settlement Agreement in a way that was inconsistent
with the “key terms” from the July 26, 2019 email. Notably, for example, the Remaining
Petitioning Creditors attempted to add “payments that were not included in the July 26 email
exchange, setting forth the settlement payments. In addition, those requests for additional
payments clearly seek an exception to the full mutual releases, no carve outs.” See Ex. 5 at 48:25
— 49:4, Also by way of example, the Remaining Petitioning Creditors attempted to add other
provisions that were not part of the “key terms” from the July 26, 2019 email, including a request

for a default judgment. Jd. at 49:11-13. In proper context, Tagnetics’ counsel’s statement makes
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 12 of 15 PAGEID #: 793

sense — the draft settlement agreement contained additional and often “boilerplate” terms that
otherwise were not captured in the July 26, 2019 email establishing the “key terms.” Further, and
more importantly, the draft settlement agreement remained entirely consistent with and did not
alter in any way the “key terms” from the July 26, 2019 email. On the other hand, the Remaining
Petitioning Creditors did indeed attempt to alter the agreed upon “key terms” from the July 26,
2019 email by proposing, among other things, many exceptions to the release (and they are seeking
to do the same here by trying to limit the scope of the release), It is evident that the Remaining
Petitioning Creditors have attempted to use Tagnetics’ counsel’s testimony to mislead the Court
regarding the scope of the terms of the agreement between the parties.

D. APPELLEES CONSISTENTLY FAIL TO CITE AND/OR ACCURATELY
REFLECT THE RECORD

While the Remaining Petitioning Creditors mischaracterize the record and the context in
which statements were made, the Remaining Petitioning Creditors also consistently fail to cite to
the record and/or cite evidence in support of the numerous assertions they make. For example, the
Remaining Petitioning Creditors make the following assertions and/or conclusions without citation
and/or reference to any document in the record or properly admitted evidence at the October 18,
2019 hearing:

e On page 6 of their brief, the Remaining Petitioning Creditors state that “[d]uring
the time Kayser and Earley were Directors, they were not aware of Compass
Marketing having significant stock ownership just significant number of un-
exercised stock options. Some of the release language was also concerning and

was reviewed by an attorney in Roanoke, Virginia and an attorney in Dayton, OH
who both shared concern with how the release language was presented.”

e On page 8 of their brief, the Remaining Petitioning Creditors state that “Kenneth
Kayser was not comfortable with the release language in the Kayser Ventures
Settlement but since that settlement was full and complete in a single payment there
was no need to question the elements of the release.”
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 13 of 15 PAGEID #: 794

e On page 8 of their brief, the Remaining Petitioning Creditors state that “[t]he court
stated they were very skeptical about the position to infer that affiliates were
included.”

Without proper citation to the record and/or properly admitted evidence, Tagnetics cannot
reasonably determine (a) whether the Remaining Petitioning Creditors have accurately quoted any
particular document or testimony, (b) whether the Remaining Petitioning Creditors have properly
included the relevant context in the event any passage has been property quoted, and (c) if the
above two conditions have been met, whether the argument being advanced by the Remaining
Petitioning Creditors is relevant to the issue(s) on appeal.

Further, it is not the job of this Court to sift through the evidence and the record to perform
the above analysis. See NCUA Bd. v. Zovko, 728 Fed. Appx. 567, 569 (6th Cir. 2018) (citing Fed.
R. App. P. 28 (a)(8)(A) for the proposition that a court is not obligated to search the record for
support of an argument); see also Taunt v. Lyons (In re Lyons), 1999 U.S, Dist. LEXIS 20240, *23
(E.D. Mich. 1999) (finding that summary judgment granted by the Bankruptcy Court was
appropriate when, inter alia, the “facts” cited in a brief lack any support in the evidentiary record),
Baseball at Trotwood, LLC y. Dayton Prof’! Baseball Club, 2003 U.S. Dist. LEXIS 27460, n.62
(S.D. Ohio 2003) (“Plaintiffs’ factual assertions are not supported by the evidence, insofar as they
either do not provide citation to the record, or they cite to inadmissible documentation.”), Given
that the Remaining Petitioning Creditors rely on unsupported and/or uncited assertions, the Court
should assume that each assertion and/or argument advanced by the uncited portions of their
argument are not found in the record and, thus, give no weight to each.

CONCLUSION
For the foregoing reasons, as well as those set forth in Tagnetics’ opening Brief, the Court

should either (1) affirm the decision of the Bankruptcy Court, in part, and reverse the decision of

10
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 14 of 15 PAGEID #: 795

the Bankruptcy Court with respect to the scope of the release and hold that the term “full mutual
releases (no carve outs)” includes releases of not only the parties to this litigation, but related
individuals/entities, such as parent companies, subsidiaries, affiliates, officers, directors, and, as
appropriate, heirs and personal representatives, or (2) if the term “full mutual releases (no carve
outs)” does not include a release of the related parties advocated by Tagnetics, reverse the decision
of the Bankruptcy Court and hold there was no meeting of the minds and, thus, there was no
settlement agreement to enforce.

CERTIFICATE OF COMPLIANCE WITH RULE 8015(a)(7) OF THE FEDERAL RULES
OF BANKRUPTCY PROCEDURE

Appellant Tagnetics, Inc., hereby certifies that the foregoing Brief of Appellant complies
with the page limitations prescribed by Rule 8015(a)(7)(B)(ii) of the Federal Rules of Bankruptcy
Procedure. Specifically, Appellant Tagnetics, Inc.’s certifies that the foregoing contains 3,530
words and 272 lines of text.

Respectfully submitted,

/s/ Stephen B, Stern
Stephen B. Stern, Admitted Pro Hac Vice
KAGAN STERN MARINELLO & BEARD, LLC
238 West Street
Annapolis, Maryland 21401
(410) 216-7900 — Telephone
(410) 705-0836 — Facsimile

stern@kaganstern.com (email)

Counsel for Appellant/Alleged Debtor |
Tagnetics, Inc.

11
 

Case: 3:19-cv-00363-TMR Doc #: 15 Filed: 03/26/20 Page: 15 of 15 PAGEID #: 796

CERTIFICATE OF SERVICE

I hereby certify that on March 26, 2020, a copy of the foregoing Reply Brief of Appellant
was served (i) electronically on the date of filing through the Court’ s ECF System on all ECF
participants registered in this case at the email address registered with the court and (ii)
electronically by email on counsel for Tagnetics, Inc., Douglas Draper, Esq.
(ddraper@hellerdraper.com) and Leslie Collins, Esq. (Icollins@hellerdraper.com), and (iii) by
ordinary U.S. Mail on March 26, 2020 addressed to:

Kenneth W Kayser
PO Box 115
Catawba, VA 24070

Ronald E. Early
6429 Winding Tree Drive
New Carlisle, OH 45344

Jonathan Hager
842 Paint Bank Road
Salem, VA 24153

MaryAnne Wilsbacher

Office of the United States Trustee
170 North High Street

Suite 200

Columbus, Ohio 43215

/s/ Stephen B, Stern
Stephen B. Stern, Admitted Pre Hac Vice

12
